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MIDDLE DISTRICT oF FLoRn)A “ *"‘ » ~=' 4 ~:-U

 

JACKSONVILLE DIVISION
LAUREN K. BELL
Plaintiff,
v. Case No.:
PSS WORLD MEDICAL, INC., 31 la "CV" 533 " J’ SQ'TEM
Defendant.

/
COMPLAINT FOR DISCRIMINATION lN EMPLOYMENT BASED ON RACE,
SEX, DISABILITY, AGE AND RETALIATION,
AND DEMAND FOR JURY TRIAL
Plaintiff, LAUREN K. BELL (“Bell”), brings this action seeking monetary
damages, reinstatement, attorney’s fees, costs, and other relief against Defendant, PSS
WORLD MEDICAL, INC. (“PSS”), and alleges the following:
NATURE OF ACTION
l. This is an action brought by Bell against Defendant for discrimination in
employment based on her race, sex and based on retaliation against her in violation of
Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e-5, and the
Florida Civil Rights Act, § 760.10, Fla. Stat. (“FCRA); based on discrimination against
her because of her disability in violation of Title I of the Americans With Disabilities
Act of 1990, 42 U.S.C. § 12101 et seq (“ADA”), and Chapter 760 of the Florida Civil
Rights Act of 1992, as amended (“FCRA”); and based on discrimination against her

because of her age in violation of the Age Discrimination in Employment Act (ADEA)

and Chapter 760 of the Florida Civil Rights Act of 1992, as amended (“FCRA”).

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2. The jurisdiction of this Court is invoked under § 706 of Title VII of the Civil
Rights Act of 1964, as amended, 42 U.S.C. § 2000e-5(t).
3. Venue in this district is proper pursuant to 28 U.S.C. § 1391, in that each
cause of action arose in this district.
PARTIES

4 Plaintiff, Bell, is an African American female citizen of the United States and
the State of Florida, City of Jacksonville, and County of Duval.

5. Defendant is an employer in an industry that affects commerce, and employs
more than 15 employees for purpose of applicability of the FCRA, the Americans With
Disabilities Act (ADA) of 1990, and the Age Discrimination in Employment Act
(ADEA); and more than 25 employees for purpose of applicability of Title VII of the
Civil Rights Act of 1964, as amended.

6. The unlawful practices of discrimination in employment alleged herein Were
committed within the State of Florida.

7. All conditions precedent to jurisdiction under Title VII of the Civil Rights
Act of 1964, as amended; the Americans With Disabilities Act (ADA) of 1990; the Age
Discrimination in Employment Act (ADEA); and the Florida Civil Rights Act of 1992, as
amended (“FCRA”) have occurred or been complied with, to wit: A charge of
employment discrimination was filed by Bell against Defendant with the United States
Equal Opportunity Commission; that Commission issued Bell her Notice Of Right To
Sue, dated April 16, 2012 (see Exhibit 1 attached hereto); and this civil action is being

commenced within 90 days of Bell’s receipt of same.

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8. Plaintiff, Bell, began her employment with Defendant on October 26, 2004, as
an Accounts Payable Data Entry Clerk.

9. During her tenure working with Defendant (2006), Bell was afflicted with a
medically diagnosed cataract/glaucoma condition, as a result of which she had to wear
trifocals, and which condition exhibited itself in her having difficulty reading small
lettering to efficiently key in information to satisfactorily meet her goals.

10. Bell’s medical condition was determined and documented disabling by her
physician such as necessitated her request for company-approved Family Medical Leave
Act (FMLA) absence.

ll. Bell sought reasonable accommodation of her disability from Defendant, and
was denied reasonable accommodation within the intent and spirit of the ADA.

12. Rather, subsequent to; and as a direct result of, her request to Defendant for
reasonable accommodation of her known disability, Bell’s manager, Timotliy Lyons
(White male) began immediately writing her up for unsatisfactory performance, e.g.,
7/13/10; 8/5//10; and 9/l/l O-exhibiting a particularized interest in Plaintiff’s job
duties/performance even above that of her direct supervisor, Linda Ward, who gave
Plaintiii` accolades for her job performance being “better than most.”

13. In addition to the 3 sudden and “trumped-up” July, August and September
2010 unsatisfactory performances delineated in paragraph 12 above; all of which were
assessed against Bell by Manager Lyon subsequent to Bell’s complaints made against

him to Defendant (see paragraph numberedl4 below), Bell proffers the following

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additional incidents as harassment/retaliation against her by Manager Lyons resulting
from her complaints made against him:

a. Manager Lyons intentionally neglected giving Bell credit for

LEAN ideas (company-encouraged suggestions to make work better) that
she made; and which suggestions would clearly be put in place only after
Bell had suggested them; with Manager Lyons using the excuse (for not
crediting Bell) that Bell’s suggestions were similar ideas or processes to
ones already suggested;

b. Manager Lyons had a practice of communicating concerning work-
related matters to the “ladies” in the Accounts Payable Department by way
of emails upon which he would imprint possibly politically incorrect
cartoons-- on one occasion during the 2008 Presidential Election,
distributing emails containing real pictures of about 30 mug shots of
Various minority individuals all wearing “Obama” tee-shirts;

c. Manager Lyons indicated directly to Bell that he did not think that her
numbers had anything to with the vendor invoices, or her ability to see;
but rather the way that she slouched in her chair (“You have no
urgency!”);

d. Manager Lyons would consistently inquire of Bell why she couldn’t
key a vendor, or had trouble keying a vendor when another younger data
entry person had no problem;

e. Manager Lyons would personally change or adjust Bell’s computer
icons or settings (minirnize them) such that she could not see them, and
would miss her data entry deadlines; and then Manager Lyons would
reprimand Bell for missing the deadlines;

f. Manager Lyons would personally remove invoices, which Bell was
working on, from Bell’s desk, and then reprimand Bell for the invoices
having been removed;
g. At the very end of her tenure with Defendant, just before she was
terminated, Bell was provided a larger computer monitor;
per her request, however, she was not instructed on how to properly use
same; nor was she provided time in which to learn proper use of same.
14. Bell complained about the harassment/retaliation; delineated herein, taken
against her; particularly in the person of Defendant’s agent Manager Lyons to; in turn,

Manager Lyon’s supervisor (Andy Behrens); Defendant’s HR Departrnent; and

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eventually to Defendant’s CEO (Gary Corliss)-- all before her termination; and all to no
avail.

15. Bell was terminated by Defendant on November 2, 2010; ostensively for
“unsatisfactory work performance;” but Bell contends that when the totality of the
circumstances are considered, Defendant’s stated reason for her termination is; in
actuality, pretext for discrimination

JURISDICTION AND FIRST CLAIM FOR RELIEF

16. Plaintiff, Bell, realleges paragraphs 8 through 15 as if specifically plead herein,
and further states.

l7. Plaintifi’s first claim for relief is brought, and jurisdiction lies, pursuant to
Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e-5, and the
Florida Civil Rights Act, § 760.10, Fla. Stat. (“FCRA”), prohibiting discrimination in
employment based on race and sex,

18. Other of Defendant’s co-workers similarly situated as was Bell, except for her
protected categories of race and sex, were treated more favorably than was Bell relative
to Defendant’s policies relating to reasonable accommodation of various of its
employees, and relative to work assignments

19. Defendant’s discrimination against Bell because of her race and sex, by and
through treating her different than her similarly situated co-workers not in her protected
class as delineated above was in violation of Title VlI of the Civil Rights Act of 1964, as
amended, 42 U.S.C. §§ 2000e-5, and the Florida Civil Rights Act, § 760.10, Fla. Stat.
(“FCRA”), was calculated to; and did, cause Bell to suffer loss pay, humiliation, mental

anguish and emotion and physical distress.

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JURISDICTION AND SECOND CLAIM FOR RELIEF

20. Plaintiff, Bell, realleges paragraph 8 through 15 as if specifically plead herein,
and further states.

21. Plaintiff’s second claim for relief is brought, and jurisdiction lies, pursuant to
Title I of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12101 et
seq (“ADA”) and Chapter 760, Fla. Stat. prohibiting discrimination against disabled
individuals in employment

22. Defendant recognized/acknowledged Bell’s disability, and yet did not reasonably
accommodated same; notwithstanding Bell’s requests that her disability be reasonably
accommodated as were other of her similarly situated co-workers not in her protected
categories.

23. At the time Defendant discriminated against Plaintiff because of her disability by
not consistently according her requested reasonable accommodation; and by retaliating
against her in her work assignments, Plaintiff was a qualified individual under Title I of
the ADA, and under the FCRA.

24. At the time Defendant discriminated against Plaintiff because of her disability by
not consistently according her requested reasonable accommodation; and by retaliating
against her in her work assignments, Plaintiff’ s disability substantially affected one or
more of her major life activities and/or Plaintiff had a record of having an impairment
and/or was being regarded by Defendant as having an impairment as required under Title
I of the ADA and under the FCRA.

25. At the time Defendant discriminated against Plaintiff because of her disability

by not consistently according her requested reasonable accommodation; and by

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retaliating against her in her work assignments, Plaintiff could have substantially
performed the major functions of her job with reasonable accommodation as required
under Title I of the ADA, and under the FCRA.

26. Consistent, reasonable accommodation was requested of Defendant by Plaintiff,
in lieu of the aforedescribed continued employment discrimination, notwithstanding
which requests, the discrimination continued.

27. Defendant discriminated against Plaintiff, as aforedescribed, because of her
disability, notwithstanding its full knowledge of her disability.

28. Defendant’s discrimination against Plaintiff because of her disability by not
consistently according her requested reasonable accommodation; and by retaliating
against her in her work assignments, was calculated to; and did, cause Plaintiff to suffer
loss pay, humiliation, mental anguish and emotion and physical distress.

JURISDICTION AND THIRD CLAIM FOR RELIEF

29. Plaintiff, Bell, realleges paragraph 8 through 15 as if specifically plead herein,
and further states.

30. Bell’s third claim for relief is brought, and jurisdiction lies, pursuant to Title VII
of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e-5, and the Florida Civil
Rights Act, § 760.10, Fla. Stat. (“FCRA”), prohibiting discrimination in employment
based on retaliation as delineated above.

31. In direct response to Bell’s engagement in protected activity as delineated,
Defendant intentionally discriminated against Bell, in violation of Title VII of the Civil
Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e-5, and the Florida Civil Rights Act,

§ 760.10, Fla. Stat. (“FCRA”), by adverse employment action of terminating her

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employment while not likewise terminating the employment of other of her coworkers
similarly situated to her aside from her protected classes of race, sex, disability and age.

32. The above delineated adverse employment action against Bell by Defendant
were in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§
2000e-5, and the Florida Civil Rights Act, § 760.10, Fla. Stat. (“FCRA”), and were
calculated to; and did, cause Bell to suffer loss pay and benefits, humiliation, mental
anguish, and emotional distress.

JURISDICTION AND FOURTH CLAIM FOR RELIEF

33. Plaintiff, Bell, realleges paragraphs 8 through 15 as if specifically plead herein,
and further states.

34. Plaintiii’s fourth claim for relief is brought, and jurisdiction lies, pursuant to the
Age Discrirnination, and the Florida Civil Rights Act, § 760.10, Fla. Stat. (“FCRA”),
prohibiting age discrimination in employment

35. At the time of her termination from Defendant, Plaintiff Bell was over 40 years of
age and; as such, was within the protection of the Age Discrimination in Employment
Act (ADEA) and the Florida Civil Rights Act, § 760.10, Fla. Stat. (“FCRA”), prohibiting
age discrimination in employment

36. Prior to her termination from Defendant, Plaintiff Bell was consistently harassed
by Defendant’s agents relative to the terms and conditions of her job with Defendant
particularly because of her age.

37. Other of Plaintiff’s co-workers similarly situated as was she, except for her
protected category of age, were treated more favorably than was Plaintiff.

38. Other of Plaintiff’s co-workers not in her protected category of age committed the

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same or similar act as Plaintiff was accused of, yet were not terminated as was Plaintiff.

39. Defendant’s discrimination against Bell because of her protected category of age,
by and through treating her less favorably than her similarly situated co-workers not in
her protected class were treated, as delineated above, was in violation of the Age
Discrimination in Employment Act (ADEA) and the Florida Civil Rights Act, § 760.10,
Fla. Stat. (“FCRA”), prohibiting age discrimination in employment, and was calculated
to; and did, cause Bell to suffer loss pay, humiliation, mental anguish and emotion and
physical distress.

WHEREFORE, Bell respectfully pray that this Honorable Court will advance this
case upon the docket; order a speedy jury trial on all issues so triable by jury at the
earliest practicable date; cause this case to be in every way expedited, and upon such
hearing, award her the following relief as against Defendant:

A. Order Defendant to reinstate her to her job position;

B. Enjoin Defendant from further discriminatory and/or retaliatory acts

against her;

C. Grant her back pay, including lost benefits, she Would have received had
she not suffered the discriminatory discharge from her employment as
delineated herein;

D. Award her compensatory damages for humiliation, mental anguish, pain
and suffering and any other compensatory damages which this Court; in
its wisdom, feels is just and proper, based on the proof in these

proceedings;

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E. Enter judgment for Plaintiff for reinstatement of her job, and award her

monetary losses she sustained, including benefits, raises, reasonable

attorneys fees and costs, and liquidated damages in an additional amount

of equal to the sum of her actual damages plus interest pursuant to 29

U.S.C.§ 2617, and

F. Award to her reasonable attomey’s fees and costs of this action.

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Respectfully submitted,

Maxie Broome, Jr., P.A.

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Attorney for Plaintiff

